
In re Elzy, Alvin;—Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “J”, No. 292-307; Criminal District Court, Div. “I”, No. 286-491; to the Court of Appeal, Fourth Circuit, No. 97KW-2726.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
KNOLL, J., not on panel.
